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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

TERRY MARSHALL,

                      Petitioner,                           Case No. 09-cr-20536-06

v                                                           Honorable Thomas L. Ludington

UNITED STATES OF AMERICA,

                      Respondent.

__________________________________________/

       ORDER OVERRULING OBJECTION, ADOPTING REPORT AND
 RECOMMENDATION, GRANTING MOTION TO DISMISS, DENYING MOTION TO
 VACATE, AND DENYING CERTIFICATE OF APPEALABILITY AND PERMISSION
              TO PROCEED IN FORMA PAUPERIS ON APPEAL

       On April 16, 2012, Petitioner Terry Marshall pleaded guilty to conspiracy to distribute

cocaine base, 21 U.S.C. § 846 and 841(a)(1). Plea Agreement 1, ECF No. 592. On August 13,

2012, she was sentenced to 140 months’ imprisonment. J. 2, ECF No. 652. Marshall did not

appeal the judgment, and therefore her conviction became final on August 27, 2012. See

Sanchez-Castellano v. United States, 358 F.3d 424, 428 (6th Cir. 2004) (judgment of conviction

becomes final when the time for filing a notice of appeal expires).

       A little less than two years later, on June 24, 2014, Marshall filed a motion to vacate her

sentence under 28 U.S.C. § 2255. In her motion, she asserts one claim: that she received

ineffective assistance when trial counsel “allow[ed] Movant to Plead Guilty to a Sentence that

she did not qualify for.” Mot. to Vacate 4, ECF No. 690.

       On October 17, 2014, Respondent filed a motion to dismiss Marshall’s § 2255 motion,

claiming that it is time-barred. See ECF No. 706. On November 26, 2014, Magistrate Judge
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Patricia T. Morris issued a report recommending that Respondent’s motion be granted because

Marshall’s § 2255 motion was untimely.

       On February 9, 2015, Marshall objected to the Magistrate Judge’s report, asserting that

she was entitled to equitable tolling. Because Marshall has not demonstrated that she exercised

due diligence in pursuing her rights, and because she has not demonstrated extraordinary

circumstances that would merit equitable tolling, Marshall’s motion will be denied as untimely.

                                                 I

       Pursuant to Federal Rule of Civil Procedure 72, a party may object to and seek review of

a magistrate judge’s report and recommendation. See Fed. R. Civ. P. 72(b)(2). If objections are

made, “[t]he district judge must determine de novo any part of the magistrate judge’s disposition

that has been properly objected to.” Fed. R. Civ. P. 72(b)(3). Objections must be stated with

specificity. Thomas v. Arn, 474 U.S. 140, 151 (1985) (citation omitted). “Only those specific

objections to the magistrate’s report made to the district court will be preserved for appellate

review.” Carson v. Hudson, 421 F. App’x 560, 563 (6th Cir. 2011) (quoting Souter v. Jones, 395

F.3d 577, 585-86 (6th Cir. 2005)).

                                                II

       In her objections, Marshall concedes (or at least does not dispute) that AEDPA’s one-

year statute of limitations has already expired. See 28 U.S.C. § 2255(f) (establishing a one-year

statute of limitations for § 2255 petitions). Nonetheless, Marshall contends that she is entitled to

equitable tolling.

       Section 2255’s one-year statute of limitations is not jurisdictional, and therefore it may be

subject to equitable tolling in some circumstances. Pough v. United States, 442 F.3d 959, 965

(6th Cir. 2006) (citing Dunlap v. United States, 250 F.3d 1001, 1004-05 (6th Cir. 2001)).



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Equitable tolling of AEDPA’s statute of limitations, however, should be applied “sparingly,” and

the movant “bears the burden of demonstrating that he is entitled to equitable tolling.” Vroman

v. Brigano, 346 F.3d 598, 604 (6th Cir. 2003) (citations omitted). A movant “is ‘entitled to

equitable tolling’ only if he shows ‘(1) that he has been pursuing his rights diligently, and (2) that

some extraordinary circumstance stood in his way’ and prevented timely filing.” Holland v.

Florida, 560 U.S. 631, 648 (2010) (quoting Pace v. DiGuglielmo, 544 U.S. 408, 418 (2005)).

Absent such a showing, “a court should not extend limitations by even a single day.” Jurado v.

Burt, 337 F.3d 638, 643 (6th Cir. 2003) (quotation omitted).

        Marshall claims that the statute of limitations should be tolled because “[i]t has taken

time and persistence to reaccumulate all the information needed to present her claim, and to be

able to submit supporting evidence.” Obj. 1. Marshall explains that, during the one-year period,

the Federal Bureau of Prisons moved her “around to several locations and through this process

personal things, as well as legal material and research and other excusable neglect factors

became an obstacle due to mishandling of materials.” Id. Moreover, she asserts that “[t]he court

may also feel that [Marshall] lacks sufficient reasoning for the delayed motion.” Id. at 1-2.1

        Marshall is not entitled to equitable tolling because she has not met either requirement.

First, she has not demonstrated—as is her burden—that she has been pursuing her rights

diligently. Judgment was entered on August 13, 2012, and Marshall took no action in her case

for almost two years.

        Second, she has not demonstrated that extraordinary circumstances stood in her way and

prevented her from timely filing a motion to vacate. Numerous courts have rejected arguments

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  It is noteworthy that Marshall’s current explanation contrasts with the explanation provided in her original motion
to vacate. In her motion, she states that her claim is timely “[b]ecause The United States Supreme Court recognized
a new Substantive Rule of Constitutional Law announced in Alleyne v. United States, No. 11-9335, 2013 BL
158522 (U.S. June 17, 2013) Which was decided less than one year, making this Petition timely under AEDPA [sic
throughout]”. Mot. to Vacate 12.

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that lack of academic and legal education, ignorance of the law, and lack of legal assistance is

enough to equitably toll the limitations period. Plummer v. Davis, 2010 WL 330376, at *4 (E.D.

Mich. Jan. 21, 2010); Wilson v. Birkett, 192 F. Supp. 2d 763, 766 (E.D. Mich. 2002); Turner v.

Smith, 70 F. Supp. 2d 785, 787 (E.D. Mich. 1999); Moore v. Hawley, 7 F. Supp. 2d 901, 904

(E.D. Mich. 1998)). Nor are transfers between prisons extraordinary circumstances that warrant

equitable tolling. Ligon v. Burt, 2014 WL 6085761, at *4 (E.D. Mich. Nov. 13, 2014) (citing

Dodd v. United States, 365 F.3d 1273, 1283 (11th Cir. 2004) (routine transfers between prisons

do not constitute extraordinary circumstances).

         Equitable tolling is rare. King v. Bell, 378 F.3d 550, 553 (6th Cir. 2004). In this case,

Marshall has not demonstrated that she is entitled to equitable tolling, and therefore her motion

to vacate is untimely. Accordingly, her objection will be overruled, the Magistrate Judge’s

report will be adopted, and her motion to vacate will be dismissed.2

                                                         III

         Before Marshall may appeal, a certificate of appealability must issue. See 28 U.S.C. §

2253(c)(1)(a); Fed. R. App. P. 22(b). A certificate of appealability may issue “only if the

applicant has made a substantial showing of the denial of a constitutional right.” 28 U.S.C. §

2253(c)(2). When a court denies relief on the merits, the substantial showing threshold is met if

the petitioner demonstrates that reasonable jurists would find the court’s assessment of the claim

debatable or wrong. See Slack v. McDaniel, 529 U.S. 473, 484-85 (2000). When a court denies

relief on procedural grounds without addressing the merits, a certificate of appealability should


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  Alternatively, Marshall requests that this Court “to construe the original motion to Vacate, St Aside, or Correct the
Sentence pursuant to 28 U.S.S. § 2255, as now a 52(b); or a 60(b); or a 56(b) or(c), which ever one permits Mrs.
Marshall not to be time-barred, and is applicable. [sic throughout]” Although Marshall requests a change in the title
and form of her motion, she is still—in substance—challenging her conviction. And because Marshall’s ineffective
assistance of counsel claim “falls within the scope of § 2255(a), it should be treated as such regardless of any
‘inventive captioning’ by the prisoner.” Pilla v. United States, 668 F.3d 368, 372 (6th Cir. 2012) (citing Melton v.
United States, 359 F.3d 855, 857 (7th Cir. 2004)). Accordingly, Marshall’s motion will not be re-characterized.

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issue if it is shown that jurists of reason would find it debatable whether the petitioner states a

valid claim of the denial of a constitutional right, and that jurists of reason would find it

debatable whether the district court was correct in its procedural ruling. Id. Here, jurists of

reason would not find the Court’s procedural ruling debatable. Therefore, a certificate of

appealability and permission to proceed in forma pauperis on appeal will be denied.

                                                          IV

       Accordingly, it is ORDERED that Petitioner Terry Marshall’s objection (ECF No. 727)

is OVERRULED.

       It is further ORDERED that the Magistrate Judge’s Report and Recommendation (ECF

No. 709) is ADOPTED.

       It is further ORDERED that Respondent’s Motion to Dismiss (ECF No. 706) is

GRANTED.

       It is further ORDERED that Marshall’s Motion to Vacate Sentence (ECF No. 690) is

DENIED.

       It is further ORDERED that a certificate of appealability is DENIED.

       It is further ORDERED that permission to proceed in forma pauperis on appeal is

DENIED.

                                                                  s/Thomas L. Ludington
                                                                  THOMAS L. LUDINGTON
                                                                  United States District Judge
Dated: February 24, 2015

                                                PROOF OF SERVICE

                        The undersigned certifies that a copy of the foregoing order was served
                        upon each attorney of record herein by electronic means and on Terry
                        Marshall #42440039, at Federal Prison Camp A-2, P.O. Box A,
                        Alderson, WV 24910 by first class U.S. mail on February 24, 2015.

                                                         s/Tracy A. Jacobs
                                                         TRACY A. JACOBS



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